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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



                                               )
Jessica Atkins,                                )       Case No. 1:13-cv-07071
                                               )
         Plaintiff,                            )
                                               )
v.                                             )
                                               )
M3Financial Services, Inc.                     )       NOTICE OF DISMISSAL
                                               )         WITH PREJUDICE
                                               )
                         Defendant.            )

         Now comes Plaintiff, by and through counsel, pursuant to Federal Rule of Civil

Procedure 41(a), and hereby dismisses the present with prejudice. This notice is being filed

before Defendant has served an answer and therefore is appropriate for dismissal absent

stipulation by all parties.


                                               RESPECTFULLY SUBMITTED,

                                               Chang and Carlin, LLP


                                               By: /s/ John P. Carlin
                                               John P. Carlin, Esq.
                                               1305 Remington Road, Suite C
                                               Schaumburg, Il 60173
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                                               Attorney for Plaintiff
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                             CERTIFICATE OF SERVICE

       I hereby certify that, on October 31, 2013, a copy of the foregoing Notice was

filed electronically. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt. The

following party was served via regular U.S. Mail:



M3Financial Services, Inc
10330 W. ROOSEVELT RD. #200,
WESTCHESTER, IL 60154.



                                               /s/ John P. Carlin
